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                  UNITED STATES DISTRICT COURT
                FOR THE DISTRICT OF MASSACHUSETTS



UNITED STATES OF AMERICA,

     v.                                  Crim. No. 19-10141-LTS

SHELLEY M. RICHMOND JOSEPH,              Leave To File Granted
                                         September 6, 2019
          Defendant.



               MEMORANDUM OF LAW IN SUPPORT OF
  DEFENDANT SHELLEY M. RICHMOND JOSEPH’S MOTION TO DISMISS THE
   INDICTMENT UNDER FEDERAL RULE OF CRIMINAL PROCEDURE 12(B)
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                                        INTRODUCTION

       This case is unprecedented. The Honorable Shelley M. Richmond Joseph, a duly

appointed Massachusetts state court judge, is being subjected to a federal criminal prosecution

for actions she took on the bench on April 2, 2018, regarding the management of her courtroom.

According to the allegations of the indictment, these judicial actions enabled an undocumented

person to evade a civil administrative detainer issued by U.S. Immigration and Customs

Enforcement, and amount to obstruction of justice, obstruction of a federal proceeding, and

conspiracy to obstruct justice.

       There is a reason why this prosecution is unprecedented. There is a reason why no judge

has ever faced criminal charges for acts that did not involve personal financial gain, fraud, self-

dealing, or civil-rights violations. There is a reason why no state judge has ever been prosecuted

for not facilitating the immigration policies of the federal government. The reason is clear: This

prosecution flies in the face of established common-law immunity principles, the plain language

of the federal obstruction statutes, and the bedrock constitutional principles that underlie our

federal system of dual sovereignty.

       Judges are not above the law. Judges who defraud, who are corrupt, or who act on the

basis of self-interest are not protected by judicial immunity. But judicial immunity does shield

judges who act within their scope of authority—managing their courtroom, making discretionary

decisions—even if they err in doing so. To prosecute a judge in such a case deeply undermines

the independence of the judiciary. As several members of the Supreme Judicial Court noted last

month—in reinstating Judge Joseph’s salary pending the resolution of this unprecedented case—

this prosecution “may have a chilling effect on a judge’s willingness to challenge the conduct of

a prosecutor and thereby diminish the over-all independence of the judiciary.” In re Joseph, No.

OE-140 (Mass. Aug. 13, 2019) (slip op. at 9) (Gants, C.J., concurring).


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       This prosecution also violates due process protections against criminalizing conduct as to

which no one—let alone a state court judge—could possibly have had fair notice. It would have

been inconceivable—before this case—that a statute that prohibits “corruptly … obstruct[ing] …

an[] official proceeding” could have been applied to the way in which a state judge decides to

manage her courtroom or her constitutionally-protected decision whether to help enforce federal

immigration law. For good reason: The statute plainly does not reach such conduct, whether on

its face or as interpreted through the canon of constitutional avoidance and the rule of lenity.

       This prosecution likewise offends core constitutional principles enshrined in the Tenth

Amendment. Using federal criminal law to penalize a state judge’s lawful and discretionary

decision about how to manage courtroom proceedings is tantamount to conscripting her to

enforce federal immigration law. It violates the Tenth Amendment’s “anticommandeering”

principle, recently reaffirmed by the Supreme Court in Murphy v. NCAA, 138 S. Ct. 1461 (2018).

The federal government may well have hoped or expected that Judge Joseph would conduct her

courtroom in a way that was consistent with its policies: where the noncitizen would be taken

and through which courthouse door. But it may not enforce those expectations through the

bludgeon of the federal criminal law. Having failed to obtain the Commonwealth of

Massachusetts’ voluntary compliance with federal immigration policies, the federal government

cannot use this prosecution to intimidate Massachusetts judges. It cannot do indirectly—through

this obstruction prosecution—what the Constitution plainly prohibits it from doing directly.

       These federalism issues are exacerbated where the officer involved is not just any state

official, but a state court judge, and where the acts are lawful and discretionary ones that she

took while on the bench. A state judge may err in the decisions she makes, but in our system of




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dual sovereignty, such errors are the exclusive province of state courts or state judicial

disciplinary proceedings, not federal criminal proceedings.

       Judge Joseph categorically denies the allegations in the indictment. She brings this

motion to dismiss pursuant to Federal Rule of Criminal Procedure 12(b) to raise legal challenges

to the face of the indictment because even if the government could prove the acts alleged in the

indictment, those acts do not constitute obstruction of justice within the meaning of 18 U.S.C.

§§ 1505 and 1512(c)(2)—and if they did, her prosecution would violate the Constitution.

                                         BACKGROUND

       A.      Legal Framework

       Under our federal system, “both the National and State Governments have elements of

sovereignty the other is bound to respect.” Arizona v. United States, 567 U.S. 387, 398 (2012).

While the federal government has “broad, undoubted power over the subject of immigration and

the status of aliens,” id. at 394, the states retain primary authority for “enforcing the criminal

law,” including the administration of their own criminal-justice systems, United States v. Lopez,

514 U.S. 549, 561 n.3 (1995). Federal law defines the respective roles and responsibilities of the

federal and state governments in contexts where these powers intersect. Enforcement of the

immigration laws has been delegated by Congress to the Department of Homeland Security

(“DHS”); adjudication of removal proceedings to the Department of Justice. Arizona, 567 U.S.

at 397. Thus, Congress delegated to DHS—specifically, Immigration and Customs Enforcement

(“ICE”), an agency housed within it—the task of “conduct[ing] criminal investigations involving

the enforcement of immigration-related statutes,” id., including the arrest of persons believed to

be in the United States unlawfully. By contrast, Congress delegated to the Justice Department

responsibility for conducting removal proceedings; in these proceedings, a DHS attorney acts as




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a prosecutor, arguing before an immigration judge employed by the Justice Department, with

authority to issue final orders of removal. See 8 U.S.C. § 1103(g).

       In terms of the states’ role in immigration enforcement, although ICE may seek the

voluntary cooperation of state and local governments in enforcing federal immigration law, see

Arizona, 567 U.S. at 408-409; 8 U.S.C. § 1357(g), it may not command state and city officers to

provide such assistance, Printz v. United States, 521 U.S. 898, 935 (1997). Consistent with the

Tenth Amendment, states, cities, and their officers retain the option to “decline to administer”

federal immigration law. New York v. United States, 505 U.S. 144, 176-177 (1992).

       That the federal government is limited to the voluntary cooperation of state officials in

enforcing immigration law was recently reemphasized by the Massachusetts Supreme Judicial

Court in Lunn v. Commonwealth, 477 Mass. 517 (2017). Lunn concerned whether state judicial

officers had the authority to hold persons who would otherwise be released from state custody on

a “civil immigration detainer”—a request from the federal government to hold such a person for

up to 48 hours to allow ICE to apprehend him. Id. at 518; see 8 C.F.R. § 287.7(a). The SJC held

that state officers lacked that authority. 477 Mass. at 519. “Federal immigration detainers,” the

SJC explained, “by their express terms[,] are simply requests. They are not commands, and they

impose no mandatory obligations on the State authorities to which they are directed.” Id. at 526.

That conclusion followed, the SJC continued, from the Tenth Amendment, which “prohibits the

Federal Government from compelling States to employ their resources to administer and enforce

Federal programs.” Id. at 526-527. Accord City of Philadelphia v. Att’y Gen., 916 F.3d 276, 281

(3d Cir. 2019). The SJC further held that no other law, state or federal, permitted Massachusetts

judicial officers to hold in custody people who are suspected only of violating federal civil

immigration law. Lunn, 477 Mass. at 537. After Lunn, such officers may not hold such people




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“beyond the time that [they] would otherwise be entitled to be released from State custody.” Id.;

accord Ryan v. ICE, 382 F. Supp. 3d 142, 150-152 (D. Mass. 2019).

       In the wake of Lunn, the Massachusetts state courts adopted a policy generally declining

to assist the federal government in enforcing federal immigration law. See Memorandum from

Chief Justice Paula M. Carey, Policy and Procedures Regarding Interactions with the Department

of Homeland Security (Nov. 10, 2017) (Exhibit A) (“Policy”). This policy memorandum binds

all state-court employees, including judicial officers—and, more to the point, Judge Joseph. The

memorandum implements Lunn by instructing employees not to “hold any individual who would

otherwise be entitled to release based solely on a civil immigration detainer or civil immigration

warrant.” Id. at 1. It directs court employees to generally treat DHS officers “in the same

manner” as members of the public, and states that a person who is brought into court in custody

and then released shall be processed “in the normal course,” even if he or she “is subject to a

civil immigration detainer or warrant.” Id. at 2. Although it sets out a procedure by which DHS

officers may obtain access to the courthouse’s “holding cell area in order to take custody of” a

person pursuant to a detainer, such access is contingent on the DHS officer making such a

request. Id. at 2-3. The policy provides, as a general matter, that DHS officials may enter and

conduct activities in state courthouses only if “their conduct in no way disrupts or delays court

operations[] or compromises court safety.” Id. at 2. Pursuant to this policy, at the time of the

events alleged in the indictment, the Newton District Court had established a policy excluding

from state courtrooms DHS officers present to execute immigration detainers. Cf. Ryan, 382 F.

Supp. 3d at 160-161 (describing evidence that DHS policies authorizing courtroom arrests have

led to “victims and witnesses … avoid[ing] using the state courts, leading to a failure of state

civil and criminal proceedings”).




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       B.        Factual Background

       Judge Joseph is a duly appointed officer of the judicial department of the Massachusetts

government. Indictment (“Ind.”) ¶ 3. See Mass. Gen. Laws ch. 221, § 69A. As a judge, she had

“the authority to, among other things, arraign criminal defendants, set bail, detain or release

defendants, and control other courtroom proceedings.” Ind. ¶ 3 (emphasis added). The crimes

of which she stands accused occurred in her courtroom on April 2, 2018, while she was on the

bench in her robes, when she took up a criminal case involving a person alleged to have been an

undocumented immigrant, whom the indictment refers to as “A.S.” (for “alien subject”). The

nub of the offenses alleged in the indictment is that Judge Joseph supposedly “conspired” to

allow A.S. to exit the building from a door at the rear of the building, near the lockup, rather than

through the front doors of the courtroom where ICE could have more easily apprehended him.

Ind. ¶¶ 26-33.

       A.S. appeared before Judge Joseph on April 2, 2018 on charges of narcotics possession

and being a fugitive from justice from the Commonwealth of Pennsylvania. Ind. ¶ 6. After his

arrest two days before, on March 30, 2018, A.S.’s fingerprints had been run through an ICE

database, and ICE had issued both a detainer and a civil immigration warrant for his arrest. Id.

¶¶ 6-8. An administrative arrest warrant issued for perceived violations of immigration law is

issued not by a magistrate or any judicial or impartial officer, see 8 U.S.C. § 1357(a); 8 C.F.R.

§ 287.5(e)(2), but rather can be issued by an ICE agent simply by checking a box on a form. The

basis for the detainer and the administrative warrant was ICE’s belief that A.S. had previously

been removed from the United States and re-entered. Id. ¶ 7. 1 Upon A.S.’s arrival in her


       1
          According to the indictment, the detainer “requested that Newton Police (i) notify ICE
prior to any release of A.S.; (ii) relay the Detainer to any other law enforcement agency to whom
Newton Police transferred A.S.; and (iii) maintain custody of A.S. for up to 48 hours for ICE to
take custody.” Id. ¶ 8 (emphasis added). Neither the detainer nor the warrant instructed state or


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courtroom, the indictment alleges, Judge Joseph directed a court clerk to tell the ICE agent

present in the courtroom to wait outside. Id. ¶ 19. The indictment alleges that this was “contrary

to … DHS policy.” Id. It was, however, entirely consistent with Massachusetts policy. See

supra p. 5. 2

        According to the transcript, both the assistant district attorney (“ADA”) and A.S.’s

defense attorney raised serious questions about A.S.’s identity with respect to both the fugitive

charge and the immigration detainer. See Ind. ¶¶ 20-22. 3 Specifically, the ADA and the defense

attorney agreed that there was insufficient evidence to proceed with the Pennsylvania fugitive-

from-justice charge, which would be dismissed. Id. ¶ 22. The Commonwealth also agreed that it

would not seek pretrial confinement or bail on the drug possession charge. Id. ¶ 20.

        Judge Joseph, still on the bench, then conferred with counsel about the prospect that ICE

might detain A.S. Ind. ¶ 20. The courtroom recording system captured part of the conversation

before, according to the indictment, Judge Joseph directed that the system be turned off for

approximately 52 seconds. Id. ¶¶ 20-21. When it resumed, defense counsel asked to speak with

A.S. in the lockup with an interpreter, while he retrieved his personal property, id. ¶ 22,

consistent with ordinary practices and procedures in the courthouse.



local officers to take any action, nor could they have. See supra pp. 4-5; Lunn, 477 Mass. at 526
(“Federal immigration detainers … are simply requests.”).
        2
          Although the Massachusetts policy memorandum sets out a process by which, under
certain circumstances, DHS officers may “seek[] admission into the courthouse’s holding cell
area in order to take custody” of certain people, Policy at 2, nothing in the policy requires a judge
to permit such officers inside his or her courtroom. See Ind. ¶ 22.
        3
          At a sidebar conference with Judge Joseph, the ADA said, “I don’t think it’s him.” The
defense attorney reported: “There’s 13 FBI numbers connected to this social. So something’s
bad with [unintelligible].” When the parties returned from sidebar, the defense attorney stated on
the record: “We don’t believe that this gentleman is the same gentleman as on the fugitive-from-
justice warrant.” The ADA agreed: “Your Honor, with the information I have, I don’t think
there is enough tying him to the Pennsylvania warrant.” Id. ¶¶ 20, 22.


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        The Indictment alleges that Judge Joseph’s decision to return A.S. to the lockup was part

of a criminal conspiracy with the court officer—defendant Wesley MacGregor—and the defense

attorney (who has not been charged). The alleged purpose of the charged conspiracy was to

allow A.S. to evade ICE’s apprehension by allowing him to exit through a rear door of the

courthouse, rather than through the front door of the courtroom. Ind. ¶¶ 23-24. The indictment

alleges that as a result of Judge Joseph’s decision, ICE was “unable to take custody of A.S.

pursuant to the Warrant.” Id. ¶ 24.

                                      LEGAL STANDARD

       Under Federal Rule of Criminal Procedure 12(b)(3), a defendant may “raise[] by pretrial

motion” any “defect in the indictment or information, including … failure to state an offense.”

Fed. R. Crim. P. 12(b)(3)(B)(v). See United States v. Brissette, 919 F.3d 670, 675-76 (1st Cir.

2019); United States v. Musso, 914 F.3d 26, 29-30 (1st Cir. 2019). Such a motion is the proper

way to test the sufficiency of an indictment “as an issue of law.” Id. at 30; see Brissette, 919

F.3d at 676 (“[A] pretrial dismissal is essentially a determination that, as a matter of law, the

government is incapable of proving its case beyond a reasonable doubt.” (emphasis in original)).

On a motion to dismiss an indictment under Rule 12(b), “[t]he indictment’s allegations are

assumed to be true,” United States v. Stewart, 744 F.3d 17, 21 (1st Cir. 2014), and the court asks

whether, “[o]n the facts presented,” the indictment is sufficient to state an offense, Musso, 914

F.3d at 30.

                                           ARGUMENT

       Resolution of this case at this stage is critical in light of the profound consequences that

the charges against Judge Joseph have had on the administration of justice and core principles of

separation of powers. Judge Joseph vigorously denies the allegations in the indictment. But

even if the allegations were true, to bring federal criminal charges on the basis of such alleged


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facts threatens essential principles of “[t]he judiciary’s independence from other branches of

government and from outside influences and extraneous concerns.” In re Joseph, No. OE-140

(Mass. Aug. 13, 2019) (slip op. at 11) (Gants, C.J., concurring) (citation omitted). It undermines

the state bench’s willingness to implement state policies that may be critical of federal policies,

lest its members find themselves in the crosshairs of the federal government. And it offends a

core principle of federalism—that federal and state courts operate as equals in a system of dual

sovereignty. It is no exaggeration to suggest that those impacts continue every day that the

charges against Judge Joseph are allowed to stand.

I.     THE PROSECUTION OF JUDGE JOSEPH VIOLATES PRINCIPLES OF
       JUDICIAL IMMUNITY

       At the outset, the indictment should be dismissed because this prosecution of Judge

Joseph violates core principles of judicial immunity. The “time-honored doctrine” of judicial

immunity shields judges from all liability “when [they] carr[y] out traditional adjudicatory

functions.” Zenon v. Guzman, 924 F.3d 611, 616 (1st Cir. 2019). The acts alleged by the

indictment to constitute Judge Joseph’s criminal conduct lie at the heart of the judicial task: The

Supreme Court and lower courts alike have recognized that exercising control over courtroom

proceedings and individuals in the court is a quintessentially judicial activity. And while the

Supreme Court’s caselaw on the application of judicial immunity has arisen in the context of

civil cases, where criminal charges against judges have been allowed to proceed, they have

involved only nonjudicial acts—accusations related to bribery, fraud, or corruption—or charges

under a civil rights statute, none of which is present here. Even if the allegations in the

indictment were true, the judicial actions described in the indictment are protected by judicial

immunity, and the indictment should be dismissed on that ground.




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       A.      Judge Joseph’s Alleged Conduct Was Judicial In Nature

       As the First Circuit has recently explained, the doctrine of judicial immunity has long

shielded judges from liability arising out of acts taken in their judicial role. See Zenon, 924 F.3d

at 616. “[I]ts purpose [is] not to buffer bad judges but ‘for the benefit of the public, whose

interest it is that the judges should be at liberty to exercise their functions with independence and

without fear of consequences.’” Id. (quoting Pierson v. Ray, 386 U.S. 547, 554 (1967)). “The

breadth of the protection is fulsome,” id.: “[W]hen a judge carries out traditional adjudicatory

functions, he or she has absolute immunity for those actions.” Id.; see Goldstein v. Galvin, 719

F.3d 16, 25 (1st Cir. 2013). In order to determine whether judicial immunity applies, the First

Circuit has explained, a court asks whether “the judge’s act was one normally performed by a

judge, and whether the parties were dealing with the judge in his or her judicial capacity.”

Zenon, 924 F.3d at 617; see Stump v. Sparkman, 435 U.S. 349, 362 (1978). Judicial immunity is

overcome “only in cases where a judge is carrying out a nonjudicial action, or … where a judge

takes an action, though seemingly ‘judicial in nature,’ that is ‘in the complete absence of all

jurisdiction.’” Zenon, 924 F.3d at 617 (quoting Mireles v. Waco, 502 U.S. 9, 11-12 (1991) (per

curiam)).

       The actions alleged by the indictment are fundamentally judicial in nature. The acts that

Judge Joseph is alleged to have taken are essential judicial functions, namely: (i) conversations

with a prosecutor and defense counsel at sidebar in the course of a proceeding pending before

her, (ii) directing that a person leave the courtroom during a matter pending before her, (iii) the

operation of a recording device in that courtroom during a criminal proceeding, and (iv) allowing

a defendant to leave the courtroom and proceed to lockup. Each of these alleged acts involved

what the SJC has described as “inherent judicial authority”—the “judge’s power ‘to control [a

court’s] own proceedings, the conduct of participants, the actions of officers of the court and the


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environment of the court.’” First Justice of Bristol Div. of Juvenile Court Dep’t v. Clerk-

Magistrate of Bristol Div. of Juvenile Court Dep’t, 438 Mass. 387, 397-398 (2003) (quoting

Chief Admin. Justice of the Trial Court v. Labor Relations Comm’n, 404 Mass. 53, 57 (1989)).

The entirety of the allegations in the indictment involve Judge Joseph’s “physical control” of the

courtroom, Chief Admin. Justice, 404 Mass. at 57. All of the actions alleged are thus

quintessentially judicial acts.

         Mireles v. Waco, 502 U.S. 9, is instructive. Mireles, a state trial court judge, allegedly

ordered two police officers in his courtroom to forcibly bring a public defender who failed to

appear for the initial call of Judge Mireles’s calendar into his courtroom. Id. at 10. The lawyer

claimed that the judge’s directions to the officers indicated that they should use excessive force,

and that, as a result, the officers intentionally slammed the lawyer into doors and gates on their

way to the courtroom. Id. The Supreme Court concluded that Judge Mireles’s alleged actions

were taken in his judicial capacity. Id. at 12. Although the Court agreed that “a judge’s

direction to police officers to carry out a judicial order with excessive force is not a ‘function

normally performed by a judge,’” id. (quoting Stump, 435 U.S. at 362), it explained that “if only

the particular act in question were to be scrutinized, then any mistake of a judge in excess of his

authority would become a ‘nonjudicial’ act, because an improper or erroneous act cannot be said

to be normally performed by a judge.” Id. (emphasis added). Instead, the Court held, “we look

to the particular act’s relation to a general function normally performed by a judge, in this case

the function of directing police officers to bring counsel in a pending case before the court.” Id.

at 13.

         If the actions taken by Judge Mireles—the intentional harassment of, and the use of force

against, a lawyer who was entering his courtroom—are shielded by judicial immunity, so too are




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the actions alleged in the indictment. Indeed, with respect to Judge Joseph’s alleged instructions

to remove the ICE officer from the courtroom, if summoning persons into a courtroom is a

judicial act, per Mireles, so too is ejecting persons from a courtroom: Both acts are central to the

typically judicial function of managing or controlling the courtroom. This is why many courts

have recognized that a judge’s order to remove or exclude individuals from her courtroom is a

judicial act, especially when statutes or regulations provide an explicit grant of such authority. 4

At bottom, the allegations of the indictment depict a judge taking ordinary judicial actions—the

direction of people within her courtroom—allegations that cannot support an argument that

Judge Joseph acted in the clear absence of jurisdiction, as would be required to deny immunity.

See Zenon, 924 F.3d at 617. Judicial immunity thus bars the indictment in this case.

       B.      Judicial Immunity Applies In A Criminal Case

       The fact that this is a criminal matter is no barrier to the invocation of judicial immunity.

The Supreme Court has confronted the question whether judicial immunity can bar a federal

criminal prosecution only once, in the 140-year-old Ex parte Virginia, 100 U.S. 339 (1879).

Although the Supreme Court’s decision in Virginia has been read by some courts to prohibit the

assertion of judicial immunity in a criminal proceeding, that interpretation is incorrect. In the

years after Ex parte Virginia courts have not hesitated to rely on principles of judicial immunity




       4
          See, e.g., Stevens v. Osuna, 877 F.3d 1293, 1305 (11th Cir. 2017) (“If Judge Cassidy
ordered Plaintiff removed from the court building, he was also engaged in performing a judicial
function.”); Richman v. Sheahan, 512 F.3d 876, 880 (7th Cir. 2008) (holding that judicial
immunity shielded a state court judge’s action in ordering the son of a defendant to leave the
court building and ordering court officers to arrest him for contempt upon his refusal to leave);
State v. Bush, 714 P.2d 818, 823 (Ariz. 1986) (trial judge “may clear the courtroom and the
courthouse of those who may be intimidating witnesses or other court personnel”); Montana v.
Connor, 817 F. Supp. 2d 440, 446 (D.N.J. 2011) (finding that a judge engaged in a judicial act
when he barred a disruptive family court counselor from a hearing).


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to dismiss indictments in cases in which the charges do not concern fraud, corruption, or the

violation of civil rights laws. This Court should do the same.

        Ex parte Virginia concerned an indictment brought against a county judge for violating a

newly enacted statute making it a federal misdemeanor for a state officer to discriminate on the

basis of race in selecting jurors. 100 U.S. at 340. The judge asserted judicial immunity, but the

Court rejected his argument on multiple grounds. For one, the Court held, the selection of jurors

was not a “judicial act”: Under the law of the era, “[t]he duty of selecting jurors might as well

have been committed to a private person,” and often was. Id. at 348. But even if the selection of

jurors “could be considered … a judicial act,” the Court went on, the judge “acted outside of his

authority” by violating the federal law: After the enactment of the law, the exclusion of people of

color “was not left within the limits of his discretion.” Id. The Court relied heavily on the fact

that the criminal statute there, which was enacted pursuant to Section 5 of the Fourteenth

Amendment, expressly governed state officers and removed certain discriminatory actions from

those officers’ “discretion.” See Gregory v. Ashcroft, 501 U.S. 452, 460 (1991) (“[I]f Congress

intends to alter the ‘usual constitutional balance between the States and the Federal

Government,’ it must make its intention to do so ‘unmistakably clear in the language of the

statute.’” (citation omitted)).

        In the 140 years since Ex parte Virginia, the Supreme Court has not directly confronted

the question whether principles of judicial immunity apply in a criminal case. 5 But even without



        5
         In Mireles, the Supreme Court stated in a footnote that it had “recognized that a judge is
not absolutely immune from criminal liability.” 502 U.S. at 10 n.1. But this statement was
plainly dicta: The question whether judicial immunity attaches in criminal proceedings had no
bearing on the resolution of the case and was not briefed or argued. See Tyler v. Cain, 533 U.S.
656, 663 n.4 (2001) (explaining that binding precedent includes only the final disposition of a
case and the determinations “necessary to that result”).


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a broad statement of that kind, courts have carefully followed the principles underlying Virginia.

Some courts have concluded that judicial immunity principles do not apply in cases that involve

allegations of fraud, bribery, or—as in Virginia—the deprivation of civil rights in violation of a

statute enacted pursuant to Section 5. See, e.g., United States v. Hastings, 681 F.2d 706, 710-711

(11th Cir. 1982) (bribery); Braatelien v. United States, 147 F.2d 888, 895 (8th Cir. 1945)

(corruption). By contrast, in a recent case, Judge Roth of the Third Circuit explained in a lengthy

concurring opinion that “absent corruption or bribery, [judicial immunity] should also reach

criminal liability for judicial actions within the judge’s jurisdiction.” In re Kendall, 712 F.3d

814, 833-834 (3d Cir. 2013) (Roth, J., concurring). Judge Roth’s position is correct: Judges may

be subject to state disciplinary proceedings or impeachment, but not to criminal prosecution—

unless their conduct is corrupt, unless they abuse their office for personal gain, or unless they

violate statutes expressly aimed at their conduct and passed pursuant to Section 5.

       In each case, the judicial immunity inquiry looks to the nature of the act in question to

determine whether the conduct—irrespective of motive—is judicial. Here, the statute in question

does not follow from Congress’s Section 5 power. There are no allegations of bribery or

corruption on the part of Judge Joseph, no claim that her judicial acts masqueraded to cover

private gain. The actions of Judge Joseph charged in the indictment are exactly the type of

actions that have been recognized as judicial acts by the Supreme Court and lower courts. See

supra pp. 10-12. They were related to a pending case; they were part and parcel of her power to

manage her own courtroom; they involved the kind of judgments judicial officers typically make

in criminal cases.

       Absent corruption or bribery, or the special jurisdiction of the federal civil rights law, the

same reasons that justified the application of judicial-immunity principles in the civil context




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warrant their application here: “Exposing judges to criminal liability for judicial acts performed

within their jurisdiction poses the same type of threat to judicial independence as does exposing

them to civil suit for money damages.” Kendall, 712 F.3d at 835 (Roth, J., concurring). Other

courts have reached similar conclusions. See, e.g., In re Petition of Dwyer, 486 Pa. 585, 597

(1979) (“Judges made timid because of fear of criminal prosecutions for errors in their decisions

make poor public servants.”); United States v. Chaplin, 54 F. Supp. 926, 934 (S.D. Cal. 1944)

(“If judges are protected against civil actions for judicial acts, the reasons are more weighty that

they should be protected against criminal actions.”).

        The concerns expressed in these decisions apply with special force here. The charges

against Judge Joseph serve no purpose other than to intimidate her and other state judges into

assisting the federal government in enforcing federal immigration law, contrary to the federal

design. Cf. Younger v. Harris, 401 U.S. 37, 44 (1971) (“[T]he National Government will fare

best if the States and their institutions are left free to perform their separate functions in their

separate ways.”). They run the risk of bleeding over into the countless other decisions a judge

must make that may affect federal policies. Judicial immunity bars this prosecution.

II.     THE INDICTMENT DOES NOT STATE AN OFFENSE UNDER SECTION 1505
        OR SECTION 1512

        It should be no surprise that the federal obstruction of justice statutes have never before

been asserted against a state judge who allegedly declines to facilitate the federal government’s

desire to make an immigration arrest. Even setting aside the constitutional concerns raised by

such a prosecution, see infra, the text of the statutes plainly does not criminalize such conduct.

The statute excludes such conduct in three ways: First, § 1505 and § 1512(c)(2) each criminalize

only “corrupt” behavior, and the indictment does not allege any corrupt intent on the part of

Judge Joseph, nor could it. Second, the two statutes apply only where a defendant’s conduct



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obstructs a “proceeding,” and the execution of a civil immigration warrant does not qualify as a

“proceeding.” Finally, § 1512(c)(2) does not apply here at all, as it is limited to crimes relating

to acts of evidence impairment. The indictment thus fails to state an offense under both 18

U.S.C. §§ 1505 and 1512(c)(2). 6

       A.      Judge Joseph Did Not Act “Corruptly” For The Purposes Of Sections 1505
               and 1512(c)(2)

     First, both obstruction statutes that Judge Joseph is charged with violating apply only to

those who act “corruptly.” 18 U.S.C. §§ 1505, 1512(c)(2). But the indictment does not allege—

beyond a bare recitation of the statute—that Judge Joseph acted corruptly, nor could it. Absent

an allegation of fraud or self-interest, a state court judge who acts within the scope of her lawful

authority on matters before her cannot act “corruptly” within the meaning of the statutes. Any

broader construction of that word would encroach on the principles of judicial immunity that

protect judges from interference in the performance of their role.

     Both obstruction statutes limit their sweep to persons who act “corruptly.” See 18 U.S.C.

§§ 1505, 1512(c)(2). 7 The statutes define that term to mean “acting with an improper purpose,

… including making a false or misleading statement, or withholding, concealing, altering, or

destroying a document or other information.” Id. § 1515(b). Although this definition applies

only to § 1505, courts have read the term “corruptly” in § 1512(c)(2) to take essentially the same


       6
          Because the indictment fails to state an offense under §§ 1505 and 1512(c)(2)—the
substantive crimes with which Judge Joseph is charged—it necessarily fails to state an offense
under § 1512(k) and § 2, which allege, respectively, a conspiracy to commit the substantive
offenses and that Judge Joseph aided and abetted the commission of those offenses. See Gebardi
v. United States, 287 U.S. 112, 121-123 (1932) (where a substantive criminal statute excludes
individuals from liability, those individuals cannot be charged with conspiring to violate that
statute).
       7
         Section 1505 also makes it a crime to obstruct justice “by threats or force, or by any
threatening letter or communication.” 18 U.S.C. § 1505. The indictment does not allege any
such acts on the part of Judge Joseph.


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meaning: motivated by an “improper purpose.” See, e.g., United States v. Gordon, 710 F.3d

1124, 1151 (10th Cir. 2013); United States v. Mintmire, 507 F.3d 1273, 1289 (11th Cir. 2007).

And, as the First Circuit has explained, such a purpose will generally be a self-interested one:

“The mens rea implicated by ‘corruptly’ concerns the intention to obtain ill-gotten gain.” Roma

Constr. Co. v. aRusso, 96 F. 3d 566, 574 (1st Cir. 1996); see also id. at 573-574 (“‘[A]n act is

done corruptly if it’s done voluntarily and intentionally to bring about either an unlawful result

or a lawful result by some unlawful method, with a hope or expectation of either financial gain

or other benefit to oneself or a benefit of another person.’” (quoting United States v. Aguilar,

515 U.S. 593, 616-617 (1995) (Scalia, J., concurring in part and dissenting in part) (emphasis

added))). These definitions impose a high bar: As the Supreme Court has explained, the words

“‘[c]orrupt’ and ‘corruptly’ are normally associated with wrongful, immoral, depraved, or evil.”

Arthur Andersen LLP v. United States, 544 U.S. 696, 705 (2005). That these statutes reach only

those who act “corruptly” limits their application to those who are “conscious of their

wrongdoing.” Id. at 706.

     The indictment entirely fails to allege that Judge Joseph acted “corruptly.” Setting aside

the bare recitation of the statutory elements, see Ind. ¶¶ 38, 40, 42; United States v. Murphy, 762

F.2d 1151, 1153 (1st Cir. 1985) (indictment must do more than “parrot[] the statute”), the only

reference made to motive in the indictment is in Paragraph 25, which alleges that “[i]t was the

object of the conspiracy to corruptly attempt to obstruct” an immigration removal proceeding.

Ind. ¶ 25. But this allegation likewise fails to shed light on how Judge Joseph is alleged to have

acted “corruptly” on April 2, 2018. The government does not allege (nor could it) that Judge

Joseph was “corrupted” by self-interest or bribery. See Roma Constr. Co., 96 F. 3d at 574. Its

theory appears to be that Judge Joseph acted “corruptly” merely by knowingly “preventing the




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ICE Officer from taking custody of A.S.” (at least, from doing so inside the courtroom). Ind.

¶ 25. But the term “corruptly” cannot be defined so broadly. See Arthur Andersen, 544 U.S. at

705 (contrasting the term “knowingly” with the term “corruptly”); United States v. Brady, 168

F.3d 574, 578 (1st Cir. 1999) (“[T]o make any sense out of the statute, ‘corruptly’ needs to have

some content beyond mere knowledge of consequence.”). The term “corruptly” imposes a

meaningful limitation on the government, especially where it seeks to impose criminal liability

on a public official engaged in the discharge of her duties. The indictment is devoid of any

allegation of fraud or self-interest, instead alleging only that the actions of a state court judge

within the scope of her lawful authority on matters before her in her judicial role violate the

statute. This is not acting “corruptly” within the meaning of the federal obstruction statutes, and

the indictment therefore fails to state an offense under these statutes.

       B.      Judge Joseph’s Alleged Actions Did Not Obstruct Or Interfere With A
               “Proceeding” For The Purposes Of Sections 1505 and 1512(c)(2)

       The indictment fails to state an offense in a second way: It does not sufficiently allege

that Judge Joseph obstructed a “proceeding”—a required element of both statutes.

       i.      Section 1505 applies only to a person who “corruptly … obstructs, or impedes or

endeavors to influence … [a] pending proceeding … before any department or agency of the

United States.” 18 U.S.C. § 1505 (emphasis added). The indictment specifies the “proceeding”

that Judge Joseph is alleged to have obstructed: “a federal immigration removal proceeding

before the … Department of Homeland Security.” Ind. ¶ 42. But as the indictment’s own

allegations make clear, there was no removal proceeding “pending” at the time of Judge Joseph’s

alleged conduct.

       Under the Immigration & Nationality Act, the term “removal proceeding” has a specific

meaning: a proceeding held before “[a]n immigration judge”—a Justice Department employee—



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“for deciding the inadmissibility or deportability of an alien.” 8 U.S.C. § 1229a(a)(1). The

statute likewise specifies when a removal proceeding is “[i]nitiat[ed]”: it is when “written

notice” (known as a “notice to appear”) is “given in person to [an] alien” informing him or her of

various aspects of the proceeding, including “[t]he nature of the proceedings” and “[t]he legal

authority under which the proceedings are conducted.” Id. § 1229(a)(1); see Pereira v. Sessions,

138 S. Ct. 2105, 2110-2111 (2018); 8 C.F.R. § 1003.14(a). Removal proceedings are thus

analogous to court proceedings, and they are triggered by the issuance of the “notice to

appear”—itself analogous to a charging document. But the allegations in the indictment make

plain that, on the morning of April 2, 2018, no such proceeding was extant. The indictment

reflects that as of April 2, 2018 ICE had issued only a federal immigration detainer and a civil

immigration warrant for A.S.’s arrest—not a notice to appear. Ind. ¶ 8. No “removal

proceeding” was “pending.” 8

       The government cannot escape that conclusion by attempting to recast the ICE agent’s

actions on April 2 as part and parcel of some broader, more nebulous “proceeding.” For one, and

contrary to the indictment, DHS does not conduct “federal immigration removal proceedings”;

the Justice Department does. See 8 U.S.C. § 1229a(a)(1). And even if the statutory scheme did

permit the government to recast the events of April 2, 2018—in essence, the execution of an

arrest warrant—as a “proceeding,” the caselaw would not. As multiple courts have held in the

context of both § 1505 and § 1512 charges, the word “proceeding”—at least as it is used in the


       8
          The indictment implies that A.S. may have been eligible for an expedited form of
proceedings in which the government simply reinstates a previously issued removal order. See
Ind. ¶ 8; see also 8 U.S.C. § 1231(a)(5). Even if true, the fact that ICE could have removed A.S.
from the United States without instituting removal proceedings hardly helps the government now
establish that Judge Joseph obstructed a pending “federal immigration removal proceeding.”
Ind. ¶¶ 38, 40, 42. If no such proceeding would ever have occurred, Judge Joseph cannot
possibly have obstructed one.


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federal obstruction statutes—implies a formal, court-like proceeding, in the sense of “formal

appearances before a tribunal.” United States v. Ermoian, 752 F.3d 1165, 1170 (9th Cir. 2013);

accord United States v. Ramos, 537 F.3d 439, 462-463 (5th Cir. 2008). These courts have

correctly looked to the structure of the statute, and the context in which the word “proceeding”

appears, to conclude that Congress did not use the word in its “general sense,” but rather “as a

legal term.” Ermoian, 752 F.3d at 1169; see also United States v. Higgins, 511 F. Supp. 453,

455-456 (W.D. Ky. 1981) (consulting the legislative history of § 1505 to reach the same

conclusion). Thus understood, the word “proceeding” does not encompass “a mere criminal

investigation,” Ermoian, 752 F.3d at 1170, and neither does it include the execution of a civil

ICE arrest warrant. Accord United States v. Kelley, 36 F.3d 1118, 1127 (D.C. Cir. 1994) (“For

an investigation to be considered a proceeding … it must be more than a ‘mere police

investigation.’”).

       ii.     For similar reasons, the indictment fails to state an offense under § 1512(c)(2).

That statute makes it a crime to “obstruct[], influence[], or impede[] any official proceeding.” 18

U.S.C. § 1512(c)(2). The term “official proceeding” is defined elsewhere to include, as relevant

here, “a proceeding before a Federal Government agency,” id. § 1515(a)(1)(C), and again the

indictment specifies the “proceeding” that Judge Joseph is alleged to have obstructed: “a federal

immigration removal proceeding before the United States Department of Homeland Security.”

Ind. ¶¶ 40, 42. The scope of Section 1512(c)(2) is limited to “official proceedings,” and the

execution of an arrest warrant does not qualify as an official proceeding. See Ermoian, 752 F.3d

at 1170; Ramos, 537 F.3d at 462-463.

       Judge Ponsor’s decision interpreting § 1512(c) in United States v. Binette, 828 F. Supp.

2d 402 (D. Mass. 2011), is instructive. In Binette, the Securities and Exchange Commission




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began an investigation into the defendant’s purchase of stock options. Id. at 403. When the

defendant lied to the SEC investigators, they charged him with violating § 1512(c)(2). Id. at 402.

The defendant moved to dismiss the charge on the grounds that the investigation did not qualify

as an “official proceeding” under § 1512(c)(2), and Judge Ponsor agreed and dismissed the

charge. Id. at 403-404. Relying on the Fifth Circuit’s decision in Ramos, the court reasoned that

the statutory definition “indicates that it ‘involves some formal convocation of the agency in

which parties are directed to appear’” and was used throughout the statute “in ‘a manner that

contemplates a formal environment in which persons are called to appear or produce

documents.’” Id. (quoting Ramos, 537 F.3d at 462-63). The investigation at issue, the court

explained, “was not an official proceeding as contemplated by the statute,” especially in light of

its informal nature: In the kind of investigation at issue in Binette, the SEC could not “compel the

production of documents and witnesses through subpoenas,” as could a court. Id. at 403-04. The

same is self-evidently true of an ICE officer who is executing a civil immigration warrant; such

an officer does not have the power to compel process. The allegations in the indictment make

clear that the “proceeding” that Judge Joseph is alleged to have obstructed was not a formal

convocation but a law-enforcement-style effort to apprehend and detain someone whom ICE

suspected to be undocumented. That process does not qualify as a “proceeding” under the

statute.

           C.     Section 1512(c)(2) Is Limited To Crimes Relating To Acts of Evidence
                  Impairment

           Finally, and wholly independently, the § 1512(c)(2) charge should be dismissed on the

ground that that section was never meant to reach conduct like that charged in the indictment; it

was intended to reach only crimes relating to acts of evidence impairment.




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       Unlike § 1505, which generally prohibits the obstruction of justice during a pending

proceeding before a federal agency, § 1512, by its text, criminalizes a number of specific acts

that center on (as the title of the provision indicates) “[t]ampering with a witness, victim, or …

informant.” The statute criminalizes, for instance, the killing of a witness, 18 U.S.C. § 1512(a);

the destruction or alteration of documentary or physical evidence, id. § 1512(c)(1); and the

harassing of a witness in order to hinder his or her testimony, id. § 1512(b). Section 1512(c) was

added to the statute in 2002 as part of the Sarbanes-Oxley Act. See Pub. L. No. 107-204, § 1102,

116 Stat. 745, 807. Its legislative history indicates that it was intended to close a perceived

loophole with respect to “document shredding.” 148 Cong. Rec. S6545 (daily ed. July 10, 2002)

(statement of Sen. Lott); see also id. at S6549-S6550 (statement of Sen. Hatch). And the first

subsection of § 1512(c), as indicated above, reflects that purpose: It makes it a crime to “alter[],

destroy[], multilate[], or conceal[] a record, document, or other object … with the intent to

impair the object’s integrity or availability for use in an official proceeding.” 18 U.S.C. §

1512(c)(1).

       Section 1512(c)(2)—the subsection which Judge Joseph is charged with violating—is

drafted more expansively. That section makes it a crime to “otherwise obstruct[], influence[], or

impede[] any official proceeding.” Id. § 1512(c)(2). But, as the Supreme Court has instructed,

when Congress sets out a list of specific acts that constitute a crime, and then follows that

enumeration with a “residual” clause (like § 1512(c)(2)), the residual clause should be read

through the lens of the enumerated examples. See Yates v. United States, 135 S. Ct. 1074, 1085-

1087 (2015); Begay v. United States, 553 U.S. 137, 142-143 (2008). As the Court has

emphasized, if Congress meant the residual clause to wholly subsume the enumerated examples,

“it is hard to see why it would have needed to include the examples at all.” Id. at 142. The same




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is true of § 1512(c)(2): If that section applies to all “otherwise” obstructive acts, there would be

no need for the remainder of the statute. Thus, § 1512(c)(2) is limited—like the surrounding

examples—to acts involving the destruction or impairment of evidence. Indeed, the current

Attorney General of the United States has articulated exactly this position. See Memorandum

from Bill Barr to Deputy Att’y Gen. Rod Rosenstein et al. at 2 (July 8, 2018), available at

https://bit.ly/2TQIWNq (warning that the government should not give § 1512(c)(2) an

“unbounded interpretation” by applying it outside the evidence-impairment context and “to

facially-lawful acts taken by public officials exercising … their discretionary powers”).

                                               * * *

       In short, the plain language of the statute makes clear that Congress did not intend that

the conduct alleged in the indictment falls within the sweep of either § 1505 or § 1512(c)(2), and

certainly did not intend that these statutes could be used to prosecute a state judge for actions

taken in her judicial capacity. The indictment should be dismissed for failing to state an offense

under either statute.

III.   THE APPLICATION OF THE FEDERAL OBSTRUCTION STATUTES TO
       JUDGE JOSEPH WOULD VIOLATE THE CONSTITUTION

       A.      Multiple Canons of Statutory Construction Require The Court To Construe
               The Obstruction Statutes In A Manner Consistent With The Constitution

       To the extent there is any ambiguity as to whether the obstruction statutes encompass

alleged interference with a federal immigration arrest—and there is not—longstanding canons of

statutory interpretation dictate the same result: The statutes do not apply to the crimes that Judge

Joseph is alleged to have committed.

       First, under the canon of constitutional avoidance, if there are “competing plausible

interpretations of a statutory text,” courts are required to apply “the reasonable presumption that

Congress did not intend the alternative which raises serious constitutional doubts.” Clark v.


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Martinez, 543 U.S. 371, 381 (2005). Here, the significant constitutional questions raised by the

prosecution of a sitting state judge arising out of her discretionary and lawful decision not to

assist the federal government in enforcing federal immigration law in her courtroom call out for

the application of this canon. As described below, interpreting the obstruction statutes to apply

in such a case would violate the Tenth Amendment’s prohibition against the commandeering of

state officials and the Fifth Amendment’s protection against vague criminal laws. See infra pp.

25-30; see also United States v. Davis, 139 S. Ct. 2319, 2332 n.6 (2019) (explaining that “courts

should, if possible, interpret ambiguous statutes to avoid rendering them unconstitutional”).

       Second, application of the obstruction statutes to the conduct alleged in the indictment

treads on the Commonwealth’s sovereignty and the independence of its judicial officers,

providing all the more reason for the Court to construe those statutes narrowly. As the Supreme

Court has explained, “[i]f Congress intends to alter the ‘usual constitutional balance between the

States and the Federal Government,’ it must make its intention to do so ‘unmistakably clear in

the language of the statute.’” Gregory, 501 U.S. at 460 (citation omitted). But nothing about the

obstruction of justice statutes suggest any intent on Congress’s part that they should be applied to

sitting state-court judges making decisions about how to manage their courtrooms. 9 A reading of

those statutes that would encompass such a decision would have sweeping consequences—

effectively allowing the federal government to turn a state courtroom into a federal immigration

“proceeding” at the mere request of an ICE officer, and permitting the government to imprison a



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          By contrast, the statute at issue in Ex parte Virginia—passed pursuant to Congress’s
Section 5 authority—did directly regulate state officers with responsibility for supervising jury
selection. See Virginia, 100 U.S. at 344 (“[A]ny officer or other person charged with any duty in
the selection or summoning of jurors who shall exclude or fail to summon any citizen [on the
basis of race] shall, on conviction thereof, be deemed guilty of a misdemeanor….” (quoting Act
of Mar. 1, 1875, ch. 114, § 4)).


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state court judge exercising her authority under state law on the theory that she is acting

“corruptly” in doing so. Such a reading runs deeply contrary to the “proper respect for state

functions” that the Supreme Court has admonished federal courts to apply, Younger, 401 U.S. at

44, and would make it impossible for states to adopt policies that diverge from those of federal

government in all manner of contexts.

       Finally, to the extent any doubt remains about the meaning of the statute, as the Supreme

Court emphasized earlier this year, the rule of lenity instructs that “ambiguities about the breadth

of a criminal statute should be resolved in the defendant’s favor”—a rule “‘perhaps not much

less old than’ the task of statutory ‘construction itself.’” Davis, 139 S. Ct. at 2333 (quoting

United States v. Wiltberger, 18 U.S. (5 Wheat.) 76, 95 (1820)). That principle carries additional

force in the context of the obstruction-of-justice statutes, as the Supreme Court has emphasized.

See, e.g., Arthur Andersen, 544 U.S. at 703-704 (“restraint in assessing the reach of a federal

criminal statute” is “particularly appropriate” in the obstruction context given the possibility that

the underlying conduct might be innocuous); see also Marinello v. United States, 138 S. Ct.

1101, 1106 (2018); Ramos, 537 F.3d at 463-464 (applying the rule of lenity in § 1512 case);

Binette, 828 F. Supp. 2d at 404 (same). Here, construing the federal obstruction statutes not to

reach a state court judge’s exercise of her statutory and constitutional authorities comports with

the fundamental purpose of that rule—the right of individuals “to fair notice of the law.” Davis,

139 S. Ct. at 2333.

       B.      The Prosecution of Judge Joseph Violates The Tenth Amendment

       To construe the federal obstruction-of-justice statutes to apply to a sitting state judge’s

failure to assist the federal government in enforcing federal immigration law would also plainly

violate the Tenth Amendment. That Amendment provides that “[t]he powers not delegated to

the United States by the Constitution, nor prohibited by it to the States, are reserved to the States


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respectively, or to the people.” U.S. Const. amend. X. The Amendment operates both to limit

Congress’s powers to those enumerated in the Constitution and to preserve the autonomy and

independence of the states. In recognition of this basic principle, the Supreme Court has held

that the federal government may not “command the States’ officers, or those of their political

subdivisions, to administer or enforce a federal regulatory program,” Printz v. United States, 521

U.S. 898, 935 (1997)—thus guaranteeing the States the “critical alternative” of “declin[ing] to

administer” those programs, New York v. United States, 505 U.S. 144, 176-177 (1992). Even if

the government were able to prove the facts alleged in the indictment at trial, the prosecution of

Judge Joseph would amount to an attempt to punish her for her alleged decision to exercise just

that prerogative—and to coerce her fellow judges into making the opposite decision.

       It is indisputable that the federal government cannot command Judge Joseph—or any

state judge—to assist it in enforcing federal immigration law. The basic teaching of Printz and

New York is that the federal government may not “command the States’ officers” to assist in the

administration of a federal regulatory program. Printz, 521 U.S. at 935. As the federal

government has conceded in many contexts, the “anti-commandeering” principle prohibits it

from directing state officers—including state judicial officers—to assist in the enforcement of

federal immigration law. See Lunn, 477 Mass. at 526-27; Defs.’ Opp. to Pls.’ Mot. For Prelim.

Injunction at 18, Ryan v. ICE, 382 F. Supp. 3d 142 (D. Mass. 2019) (ECF No. 28) (explaining

that “ICE courthouse arrests do not require any action by state officers” and federal policies do

not “compel[] employees of the state criminal justice or judiciary systems to take action or

refrain from taking action at all”). The federal government thus could not have commanded

Judge Joseph to release A.S. into its custody on April 2, 2018.




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       It is likewise clear that the federal government cannot achieve the same result by casting

a command as a prohibition. That is the express holding of the Supreme Court’s most recent

anti-commandeering decision in Murphy. The question in that case was whether a federal statute

that prohibited states from authorizing certain forms of gambling violated the anti-

commandeering doctrine. See Murphy v. NCAA, 138 S. Ct. 1461, 1472-1473 (2018). The

Supreme Court held that it did, describing the difference between a command and a prohibition

as an “empty” one. Id. at 1478. In the Supreme Court’s view, the anticommandeering rule

means only that the federal government may not “dictate[]” what a state “may and may not do.”

Id. After Murphy, then—if not before—it is clear that Congress could not enact a statute making

it a federal crime to decline to assist ICE in enforcing federal immigration law. That would

amount to an end run around the principle of New York and Printz: Congress would be seeking to

achieve via a prohibition what it could not do via a direct command.

       But that is exactly the purpose and effect of Judge Joseph’s prosecution: to punish her for

doing something that the federal government cannot force her to do—assist it in enforcing the

federal immigration laws. According to the government’s allegations, Judge Joseph exercised

what the Supreme Court has described as the “critical alternative” guaranteed to state and local

officers by the Tenth Amendment: the option of “declin[ing] to administer” a federal program.

New York, 505 U.S. at 176-77. The Court has repeatedly explained that the federal government

may not strip states and localities of that prerogative. See Nat’l Fed’n of Indep. Bus. v. Sebelius,

567 U.S. 519, 587 (2012) (Tenth Amendment ensures that states “may choose not to participate”

in a federal program); Printz, 521 U.S. at 909-910 (the states may “refuse[] to comply with [a]

request” to help administer federal laws). The indictment here not only flies in the face of this

settled precedent—it goes much further. Under the government’s theory of this case, a state




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officer may be imprisoned for exercising that right. Such a theory poses a profound threat to the

constitutional balance, “strip[ping] local policy makers of the power to decide for themselves”

whether to cooperate with the federal government on an issue of national importance, City &

Cty. of San Francisco v. Sessions, 349 F. Supp. 3d 924, 951 (N.D. Cal. 2018); accord City of

Chicago v. Sessions, 321 F. Supp. 3d 855, 869-872 (N.D. Ill. 2019)—and on pain of substantial

prison time.

       The government cannot reasonably argue that Judge Joseph’s prosecution rests on an

allegation or theory that she actively obstructed the ICE investigation, rather than merely

remaining neutral, for multiple reasons. For one, as discussed above, the Tenth Amendment

does not merely require that states be allowed to remain neutral with respect to a federal scheme;

it requires that states and their officers may “decline to administer” that scheme altogether. New

York, 505 U.S. at 176-77; accord Printz, 521 U.S. at 909-910. And, as the government’s own

allegations illustrate, the line between neutrality with respect to the federal scheme and

frustration of that scheme can be difficult to draw. According to those allegations, Judge Joseph

faced a choice: She could either follow court security policies and send A.S. to the lockup to

meet with his attorney and interpreter—an area where, the indictment alleges, she knew no ICE

agent was waiting—or she could release A.S. out the front door of her courtroom to the halls of

the courthouse, where she supposedly knew he would be arrested by an ICE agent. Ind. ¶¶ 14-

24. In such a circumstance—again, accepting the facts as alleged in the indictment—the only

way for a state officer like Judge Joseph to exercise her right to “decline to administer” federal

immigration law, New York, 505 U.S. at 176-77, was to allow A.S. to exit the courthouse in a

way that did not facilitate his arrest. Whether on the public street in the front of the courthouse,

or the public street at the back, ICE was still able to enforce its detainer. The key difference is




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that egress in one direction arguably facilitated the ICE arrest; the other direction is alleged to

have not. Nothing in federal or state law requires a judge in this situation to choose one manner

of egress over another. 10

        Basic principles of federalism—principles that apply with special force to a member of

the state judiciary—thus require dismissal. Prosecuting this state court judge for failing to aid

the federal government in enforcing an immigration detainer fundamentally upsets the historic

“[r]espect for the independence of state courts” that federal courts have consistently expressed.

Michigan v. Long, 463 U.S. 1032, 1040 (1983). Under these basic principles, the federal

government may encourage, may hold out incentives to induce compliance, but it cannot compel

or commandeer a state or its officials to enact or enforce federal priorities. New York, 505 U.S.

at 167-169. And an expectation enforced by the criminal law is the functional equivalent of an

obligation. To permit the government to deploy federal criminal law here is to enable it to do

indirectly—by imposing criminal penalties—what it cannot do directly: require state officials to

fall in line with federal immigration policies.

        C.      As Applied Here, The Obstruction Statutes Are Unconstitutionally Vague

        Finally, at least as applied to Judge Joseph, the obstruction of justice statutes—18 U.S.C.

§§ 1505 and 1512(c)(2)—are unconstitutionally vague. As the Supreme Court emphasized just

last year, vague laws “contravene the ‘first essential of due process of law’ that statutes must

give people ‘of common intelligence’ fair notice of what the law demands of them.” Davis, 139



        10
          The government’s suggestion that Judge Joseph somehow violated the obstruction
statutes by deviating from state “policies and practices,” see Ind. ¶¶ 11-13, is an extraordinary
one, insofar as it would create federal criminal liability out of the daily operations of state courts
and the supervision of state court employees across the Commonwealth. If Judge Joseph
violated state trial court policies, she is answerable for that violation to state authorities, not the
United States government.


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S. Ct. at 2325. To satisfy the due-process concern on which the vagueness doctrine rests, “a

penal statute [must] define the criminal offense with sufficient definiteness that ordinary people

can understand what conduct is prohibited.” Kolender v. Lawson, 461 U.S. 352, 357 (1983).

The violations of the obstruction statutes alleged in the indictment fail that test. Sections 1505

and 1512(c)(2) do not by their plain terms inform a state judge that she may be prosecuted for

simply failing to facilitate a person’s release from the courtroom out the exit that a federal officer

expected; the government’s contrary reading of the statutes all but ensures that “public officials

[will] be subject to prosecution, without fair notice, for the most prosaic” acts. McDonnell v.

United States, 136 S. Ct. 2355, 2373 (2016). Given the proposed application of the statute to the

exercise of a judicial officer’s authority, the indictment likewise raises “significant federalism

concerns,” insofar as it allows the federal government to “‘set[] standards’ of ‘good government

for local and state officials.’” Id. (quoting McNally v. United States, 483 U.S. 350, 360 (1987)).

For these reasons, and all those above, the Court should decline to adopt the government’s

boundless reading of the obstruction statutes and dismiss the indictment against Judge Joseph.

                                          CONCLUSION

       For the foregoing reasons, the indictment should be dismissed under Federal Rule of

Criminal Procedure 12(b) for failure to state an offense.




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Dated: September 6, 2019               Respectfully submitted,

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